CaS€ 8-17-73721-38'[ DOC 34 Filed 03/19/18 Entered 03/19/18 13248:17

UNITED STATES BANKRUPTCY COURT RETURN DATE: MARCH 20, 2018
EASTERN DISTRICT OF NEW YORK TIME: 10:30 A.M.
__________________________________________________________ X
In Re: ` Chapter 7
Frank Vinoent Belmonte, Case No, 817-73721-735

Debtor. Ob]`ection
__________________________________________________________ X

Mare A. Pergament, Chapter 7 Trustee of the above-referenced Debtor, by his
attorneys, Weinberg, Gross & Pergament LLP, as and f`or his Objection to the first mortgagee’$
motion to vacate the automatic stay (ECF No. 32) represents as follows:

l. On or about June 19, 2017 the Debtor filed a voluntary petition for relief
under Chapter 7 of the Bankruptoy Code.

2. Marc A. Pergarnent Was appointed Trustee and duly qualified as such.

3. The Trustee has finalized a contract to sell the real property to a third party
and requests an adjournment of the motion for sixty (60) days to obtain short sale approval.

4. lt is hereby requested that this Honorable Court adjourn the first
mortgagee’s motion seeking to vacate the automatic stay for sixty (6()) days.

Dated: Garden City, NeW Yorl<
March 19, 2018

Weinberg,r§ross & Pergament LLP
Attorney“s‘“for`i“rpstee

By: -'“‘-L'""MTWWMM

Marc A. Pergament

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